           19-01109-cgm        Doc 42 Filed 08/28/19 Entered 08/28/19 16:01:07                  Case
                                    Reassignment Notice Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                              One Bowling Green
                                           New York, NY 10004−1408


IN RE: Westinghouse Electric Company LLC, as             CASE NO.: 19−01109−cgm
reorganized v. South Carolina Public Service Authority

Social Security/Taxpayer ID/Employer ID/Other Nos.:      CHAPTER: 0




                                NOTICE OF CASE REASSIGNMENT



The above referenced case was reassigned to Judge Cecelia G. Morris on August 28, 2019 for administration. Please
style all future captions with the appropriate judicial suffix (cgm ).



Dated: August 28, 2019                                      Vito Genna
                                                            Clerk of the Court
